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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

NETLIST, INC.                                  §
                                               §
v.                                             §
                                                          Case No. 2:21-CV- 0463-JRG
                                               §
SAMSUNG ELECTRONICS CO., LTD., ET              §
AL.                                            §

                                           ORDER
.
       Previously, the Court appointed Michael Paul as the technical advisor to the Court in this

action with his costs to be assessed equally between Plaintiff and Defendant and timely paid as

billed. The Court has received Mr. Paul’s invoice for services through November 14, 2022 in the

amount of $11,969.70 and hereby ORDERS payment to be promptly made as follows:

       Plaintiff:                                                  $5,984.85

       Defendants:                                                 $5,984.85

       Defendants are hereby ORDERED to appoint a lead counsel to collect payment from

Defendants and to make a single payment to Mr. Paul on behalf of all Defendants.
       SIGNED this 3rd day of January, 2012.
       SIGNED this 11th day of January, 2023.




                                                   ____________________________________
                                                   ROY S. PAYNE
                                                   UNITED STATES MAGISTRATE JUDGE
